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 1   CANDACE A. FRY
     CA Bar No. 68910
 2   2401 Capitol Avenue
     Sacramento, CA 95816
 3   Telephone: (916) 446-9322
     FAX: (916) 446-0770
 4   E mail: C.Fry@att.net
 5   Attorney for ZHEN SHU PANG,
     Defendant
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )   No. CR.S-08-543-GEB
                                         )
12                   Plaintiff,          )   STIPULATION AND ORDER REMOVING
                                         )   MOTION HEARING FROM CALENDAR,
13        v.                             )   SETTING DATE FOR STATUS AND
                                         )   CHANGE OF PLEA, AND EXCLUDING
14   ZHEN SHU PANG, JIMMY AU, and        )   TIME
     MAGGIE LUONG,                       )
15                                       )
                     Defendants.         )
16                                       )
17
18
19        It is hereby stipulated and agreed by and between the parties
20   hereto, through their respective counsel, that the hearing on defendant
21   Zhen Shu Pang’s Motion to Suppress Evidence set for December 18, 2009,
22   shall be removed from this Court’s calendar in light of the defendant’s
23   withdrawal of said motion.     This matter shall next be heard on January
24   8, 2010, at 9:00 a.m., for a status conference as to defendant Maggie
25   Luong and for prospective changes of pleas as to defendants Zhen Shu
26   Pang and Jimmy Au.
27        This extension is sought to accommodate settlement negotiations
28   between the parties.    The parties further agree that time under the


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 1   Speedy Trial Act shall be excluded through January 8, 2010, to provide
 2   reasonable time for defense preparation of the case, pursuant to 18
 3   U.S.C. §3161(h)(7)(B)(iv) (Local Code T4).
 4
 5   Dated: December 17, 2009                           /s/ Candace A. Fry
                                                     CANDACE A. FRY, Attorney for
 6                                                   ZHEN SHU PANG, Defendant
 7
     Dated: December 17, 2009                        BENJAMIN WAGNER
 8                                                   United States Attorney
 9                                             By      /s/ Candace A. Fry for
                                                     MICHAEL M. BECKWITH, Assistant
10                                                   United States Attorney
11
     Dated: December 17, 2009                          /s/ Candace A. Fry for
12                                                   JAN D. KAROWSKY, Attorney for
                                                     JIMMY AU, Defendant
13
14   Dated: December 17, 2009                          /s/ Candace A. Fry
                                                     DINA L. SANTOS, Attorney for
15                                                   MAGGIE LUONG, Defendant
16
                                                     (Signed with authorization of
17                                                   the above counsel)
18
19                                         O R D E R
20
21   IT IS SO ORDERED.
22   Dated:     December 21, 2009
23
24                                        GARLAND E. BURRELL, JR.
25                                        United States District Judge

26
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